                                                                             25CV007212-910

 STATE OF NORTH CAROLINA                                IN THE GENERAL COURT OF JUSTICE
                                                             SUPERIOR COURT DIVISION
 COUNTY OF WAKE                                                    FILE NO:



 ANDREW K. KHOUNE, individually and)
 on behalf of all similarly situated persons;



        Plaintiff,
                                                                       COMPLAINT
                                                                   Jury Trial Demanded


                                                                        Class Action
 DAEDONG-USA, INC. (KIOTI
 TRACTOR DIVISION)

        Defendant.



       Plaintiff Andrew K. Khoune ('Plaintiff'), individually and on behalf of all similarly

situated persons, alleges the following against Daedong-USA, Inc. (Kioti Tractor Division) ("DD-

USA" or "Defendant'') based upon personal knowledge with respect to herself and on information

and belief derived from, among other things, investigation by Plaintiff's counsel and review of


public documents as to all other matters:

                                        I.      INTRODUCTION

       1.        Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard      Plaintiffs and other similarly situated individuals' personally identifiable

information ("PII") and protected health information ("PHI"), including, names, demographic

information, and reasons for office visits (the "Private Information') from criminal hackers.




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            Electronically                                    County          Superior Court
        2.      Based out of Wendell, North Carolina, Daedong-USA specializes in the

manufacturing and distribution of tractors and utility vehicles, engines, attachments, implements,

and accessories.

        3.      On or about February 20, 2025, Defendant sent out data breach notice letters (the

“Notice”) to individuals whose information was compromised as a result of a network security

incident.

        4.      Plaintiff and Class Members were, and continue to be, at significant risk of identity

theft and various other forms of personal, social, and financial harm considering the sensitive

nature of the Private Information that is now in the hands of cybercriminals. This risk will remain

for their respective lifetimes.

        5.      The Private Information compromised in the Data Breach included highly sensitive

data, representing a gold mine for data and/or identity thieves. The data included, but is not limited

to, names, demographic information, and reasons for office visits, which Defendant collected and

maintained.

        6.      Armed with the Private Information accessed in the Data Breach (and a head start),

data or identity thieves can commit a variety of crimes including, e.g., opening new financial

accounts in Class Members’ names, taking out loans in Class Members’ names, using Class

Members’ names to obtain medical services, using Class Members’ information to obtain

government benefits, filing fraudulent tax returns using Class Members’ information, obtaining

driver’s licenses in Class Members’ names but with another person’s photograph, and giving false

information to police during an arrest.

        7.      There has been no assurance offered by Defendant that all personal data or copies

of data have been recovered or destroyed, or that Defendant has adequately enhanced its data



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security practices in a manner that would be sufficient to avoid a similar breach of its network in

the future.

        8.     Therefore, Plaintiff and Class Members have suffered, and are at an imminent,

immediate, and continuing increased risk of suffering, ascertainable losses in the form of harm

from identity theft and other fraudulent misuse of their Private Information, the loss of the benefit

of their bargain, out-of-pocket expenses incurred to remedy or mitigate the effects of the Data

Breach, and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach.

        9.     Plaintiff brings this class action lawsuit to address Defendant’s inadequate

safeguarding of Class Members’ Private Information that it collected and improperly maintained.

        10.    The potential for improper disclosure and theft of Plaintiff’s and Class Members’

Private Information was a known risk to Defendant, especially after the breach, and thus Defendant

was on notice that failing to take necessary steps to secure the Private Information left it and

patients like Plaintiff vulnerable to an attack and exposure.

        11.    Upon information and belief, Defendant and its employees failed to monitor and

timely detect the Data Breach that impacted its server or data retention devices. Had Defendant

properly monitored its networks, it would have discovered the vulnerability sooner and prevented

the compromise of Plaintiff’s and Class Members’ Private Information.

        12.    Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct as the Private Information that Defendant collected and maintained is now in

the hands of data thieves and other unauthorized third parties.

        13.    Plaintiff seeks to remedy these harms on behalf of herself and all similarly situated

individuals whose Private Information was accessed and/or compromised during the Data Breach.



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        14.    Accordingly, Plaintiff, on behalf of herself and the Class, asserts claims for

Negligence, Negligence Per Se, Breach of Third-Party Beneficiary Contract, Unfair and Deceptive

Trade Practices, Unjust Enrichment, Breach of Fiduciary Duty and Declaratory Judgment.

                                II.     FACTUAL ALLEGATIONS
   A. Defendant's Business and Collection of Plaintiff's and Class Members' Private
      Information

        15.    As acondition of providing employment, Defendant requires that its employees

entrust it with highly sensitive personal and health information belonging to Plaintiff and Class

Members, including Private Information.

        16.    Due to the highly sensitive and personal nature of the information Defendant

acquires and stores with respect to its clients' Private Information, Defendant, upon information

and belief, promises to, among other things: keep the Private Information entrusted to it private;


comply with industry standards related to data security and the maintenance of its clients' Private

Information; inform its clients' of its legal duties relating to data security and comply with all

federal and state laws protecting the Private Information entrusted to it; only use and release its

clients' Private Information for reasons that relate to the services it provides; and provide adequate

notice to clients' if their Private Information is disclosed without authorization.

        17.    By obtaining, collecting, using, and deriving a benefit from Plaintiff's and Class

Members' Private Information, Defendant assumed legal and equitable duties it owed to them and

knew or should have known that it was responsible for protecting Plaintiff's and Class Members'

Private Information from unauthorized disclosure and exfiltration.

        18.    Plaintiff and Class Members relied on Defendant to keep their Private Information

confidential and securely maintained and to only make authorized disclosures of this Information,

which Defendant ultimately failed to do.


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   B. The Data Breach and Defendant’s Inadequate Notice to Plaintiff and Class Members

       19.     According to Defendant’s Notice, an “unauthorized party accessed [Defendant’s]

network.”

       20.     Through the Data Breach, the unauthorized cybercriminal(s) accessed a cache of

highly sensitive Private Information, including names, contact information, phone number, postal

address, date of birth, driver’s license, passports, Social Security number, bank account and

payment card numbers, medical and health related information, health insurance information,

usernames and passwords, and work-related information.

       21.     Defendant had obligations created by contract, industry standards, common law,

and representations made to Plaintiff and Class Members to keep Plaintiff’s and Class Members’

Private Information confidential and to protect it from unauthorized access and disclosure.

       22.     Plaintiff and Class Members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such Information confidential and secure from unauthorized access and to

provide timely notice of any security breaches.

       23.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks in recent years.

       24.     Defendant knew or should have known that its electronic records would be targeted

by cybercriminals.

   C. Defendant Failed to Comply with HIPAA

       25.     Title II of HIPAA contains what are known as the Administration Simplification

provisions. See 42 U.S.C. §§ 1301, et seq. These provisions require that the Department of Health

and Human Services (“HHS”) create rules to streamline the standards for handling PHI similar to



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the data Defendant left unguarded and vulnerable to attack. The HHS has subsequently

promulgated five rules under authority of the Administrative Simplification provisions of HIPAA.

       26.    Defendant’s Data Breach resulted from a combination of insufficiencies that

indicate Defendant failed to comply with safeguards mandated by HIPAA regulations and industry

standards. First, it can be inferred from Defendant’s Data Breach that Defendant either failed to

implement, or inadequately implemented, information security policies or procedures to protect

Plaintiff’s and Class Members’ PHI.

       27.    Plaintiff’s and Class Members’ Private Information compromised in the Data

Breach included “protected health information” as defined by CFR § 160.103.

       28.    45 CFR § 164.402 defines “breach” as “the acquisition, access, use, or disclosure

of protected health information in a manner not permitted under subpart E of this part which

compromises the security or privacy of the protected health information.”

       29.    45 CFR § 164.402 defines “unsecured protected health information” as “protected

health information that is not rendered unusable, unreadable, or indecipherable to unauthorized

persons through the use of a technology or methodology specified by the [HHS] Secretary[.]”

       30.    Plaintiff’s and Class Members’ Private Information included “unsecured protected

health information” as defined by 45 CFR § 164.402.

       31.    Plaintiff’s and Class Members’ unsecured PHI was acquired, accessed, used, and/or

disclosed in a manner not permitted under 45 CFR, Subpart E, as a result of the Data Breach.

       32.    Based upon Defendant’s Notice to Plaintiff and Class Members, Defendant

reasonably believes that Plaintiff’s and Class Members’ unsecured PHI has been acquired,

accessed, used, and/or disclosed in a manner not permitted under 45 CFR, Subpart E, as a result

of the Data Breach.



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       33.     Plaintiff’s and Class Members’ unsecured PHI that was acquired, accessed, used,

and/or disclosed in a manner not permitted under 45 CFR, Subpart E as a result of the Data Breach

was not rendered unusable, unreadable, or indecipherable to unauthorized persons.

       34.     Defendant reasonably believes that Plaintiff’s and Class Members’ unsecured PHI

that was acquired, accessed, used, and/or disclosed in a manner not permitted under 45 CFR,

Subpart E as a result of the Data Breach was not rendered unusable, unreadable, or indecipherable

to unauthorized persons.

       35.     Plaintiff’s and Class Members’ unsecured PHI that was acquired, accessed, used,

and/or disclosed in a manner not permitted under 45 CFR, Subpart E as a result of the Data Breach,

and which was not rendered unusable, unreadable, or indecipherable to unauthorized persons, was

viewed by unauthorized persons.

       36.     Plaintiff’s and Class Members’ unsecured PHI was viewed by unauthorized persons

in a manner not permitted under 45 CFR, Subpart E as a result of the Data Breach.

       37.     Defendant reasonably believes that Plaintiff’s and Class Members’ unsecured PHI

was viewed by unauthorized persons in a manner not permitted under 45 CFR, Subpart E as a

result of the Data Breach.

       38.     It is reasonable to infer that Plaintiff’s and Class Members’ unsecured PHI that was

acquired, accessed, used, and/or disclosed in a manner not permitted under 45 CFR, Subpart E as

a result of the Data Breach, and which was not rendered unusable, unreadable, or indecipherable

to unauthorized persons, was viewed by unauthorized persons.

       39.     It should be rebuttably presumed that unsecured PHI acquired, accessed, used,

and/or disclosed in a manner not permitted under 45 CFR, Subpart E, and which was not rendered




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unusable, unreadable, or indecipherable to unauthorized persons, was viewed by unauthorized

persons.

       40.      After receiving notice that they were victims of the Data Breach (which required

the filing of a data breach report in accordance with 45 CFR § 164.408(a)), it is reasonable for

recipients of that notice, including Plaintiff and Class Members in this case, to believe that future

harm (including medical identity theft) is real and imminent, and to take steps necessary to mitigate

that risk of future harm.

       41.      In addition, Defendant’s Data Breach could have been prevented if Defendant had

implemented HIPAA mandated, industry standard policies and procedures for securely disposing

of PHI when it was no longer necessary and/or had honored its obligations to its patients.

       42.      Defendant’s security failures also include, but are not limited to:

       a. Failing to maintain an adequate data security system to prevent data loss;

       b. Failing to mitigate the risks of a data breach and loss of data;

       c. Failing to ensure the confidentiality and integrity of electronic protected health

             information Defendant creates, receives, maintains, and transmits in violation of 45

             CFR 164.306(a)(1);

       d. Failing to implement technical policies and procedures for electronic information

             systems that maintain electronic protected health information to allow access only to

             those persons or software programs that have been granted access rights in violation of

             45 CFR 164.312(a)(1);

       e. Failing to implement policies and procedures to prevent, detect, contain, and correct

             security violations in violation of 45 CFR 164.308(a)(1);

       f. Failing to identify and respond to suspected or known security incidents;



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       g. Failing to mitigate, to the extent practicable, harmful effects of security incidents that

             are known to the covered entity, in violation of 45 CFR 164.308(a)(6)(ii);

       h. Failing to protect against any reasonably-anticipated threats or hazards to the security

             or integrity of electronic protected health information, in violation of 45 CFR

             164.306(a)(2);

       i. Failing to protect against any reasonably anticipated uses or disclosures of electronic

             protected health information that are not permitted under the privacy rules regarding

             individually identifiable health information, in violation of 45 CFR 164.306(a)(3);

       j. Failing to ensure compliance with HIPAA security standard rules by Defendant’s

             workforce, in violation of 45 CFR 164.306(a)(94); and

       k. Impermissibly and improperly using and disclosing protected health information that

             is and remains accessible to unauthorized persons, in violation of 45 CFR 164.502, et

             seq.

       43.      Because Defendant has failed to comply with HIPAA, while monetary relief may

cure some of Plaintiff’s and Class Members’ injuries, injunctive relief is also necessary to ensure

Defendant’s approach to information security is adequate and appropriate going forward.

Defendant still maintains the PHI and other highly sensitive PII of its current and former patients,

including Plaintiff and Class Members. Without the supervision of the Court through injunctive

relief, Plaintiff’s and Class Members’ Private Information remains at risk of subsequent data

breaches.

   D. Defendant Failed to Comply with FTC Guidelines

       44.      The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.



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According to the FTC, the need for data security should be factored into all business decision

making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g.,

FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       45.     In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cybersecurity guidelines for businesses. The

guidelines note that businesses should protect the personal customer information that they keep,

properly dispose of personal information that is no longer needed, encrypt information stored on

computer networks, understand their network’s vulnerabilities, and implement policies to correct

any security problems. The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs, monitor all incoming traffic for activity indicating

someone is attempting to hack into the system, watch for large amounts of data being transmitted

from the system, and have a response plan ready in the event of a breach.

       46.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction, limit access to sensitive data, require complex passwords

to be used on networks, use industry-tested methods for security, monitor the network for

suspicious activity, and verify that third-party service providers have implemented reasonable

security measures.

       47.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an




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unfair act or practice prohibited by the FTCA. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.

        48.     As evidenced by the Data Breach, Defendant failed to properly implement basic

data security practices. Defendant’s failure to employ reasonable and appropriate measures to

protect against unauthorized access to Plaintiff’s and Class Members’ Private Information

constitutes an unfair act or practice prohibited by Section 5 of the FTCA.

        49.     Defendant was at all times fully aware of its obligation to protect the Private

Information of its patients yet failed to comply with such obligations. Defendant was also aware

of the significant repercussions that would result from its failure to do so.

    E. Defendant Failed to Comply with Industry Standards

        50.     As noted above, experts studying cybersecurity routinely identify businesses as

being particularly vulnerable to cyberattacks because of the value of the Private Information which

they collect and maintain.

        51.     Some industry best practices that should be implemented by businesses dealing

with sensitive PHI like Defendant include but are not limited to: educating all employees, strong

password requirements, multilayer security including firewalls, anti-virus and anti-malware

software, encryption, multi-factor authentication, backing up data, and limiting which employees

can access sensitive data. As evidenced by the Data Breach, Defendant failed to follow some or

all of these industry best practices.

        52.     Other best cybersecurity practices that are standard in the industry include:

installing appropriate malware detection software; monitoring and limiting network ports;

protecting web browsers and email management systems; setting up network systems such as

firewalls, switches, and routers; monitoring and protecting physical security systems; and training



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staff regarding these points. As evidenced by the Data Breach, Defendant failed to follow these

cybersecurity best practices.

       53.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       54.     Defendant failed to comply with these accepted standards, thereby permitting the

Data Breach to occur.

   F. Defendant Breached its Duty to Safeguard Plaintiff’s and Class Members’ Private
      Information

       55.     In addition to its obligations under federal and state laws, Defendant owed a duty

to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the Private Information in its possession from being

compromised, lost, stolen, accessed, and misused by unauthorized persons. Defendant owed a duty

to Plaintiff and Class Members to provide reasonable security, including consistency with industry

standards and requirements, and to ensure that its computer systems, networks, and protocols

adequately protected the Private Information of Class Members

       56.     Defendant breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data. Defendant’s unlawful conduct includes, but is not limited to, the following acts

and/or omissions:




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          a.   Failing to maintain an adequate data security system that would reduce the risk of

               data breaches and cyberattacks;

          b.   Failing to adequately protect patients’ Private Information;

          c.   Failing to properly monitor its own data security systems for existing intrusions;

          d.   Failing to sufficiently train its employees regarding the proper handling of its

               patients Private Information;

          e.   Failing to fully comply with FTC guidelines for cybersecurity in violation of the

               FTCA;

          f.   Failing to adhere to HIPAA and industry standards for cybersecurity as discussed

               above; and

          g.   Otherwise breaching its duties and obligations to protect Plaintiff’s and Class

               Members’ Private Information.

       57.     Defendant negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ Private Information by allowing cyberthieves to access its computer network and

systems which contained unsecured and unencrypted Private Information.

       58.     Had Defendant remedied the deficiencies in its information storage and security

systems, followed industry guidelines, and adopted security measures recommended by experts in

the field, it could have prevented intrusion into its information storage and security systems and,

ultimately, the theft of Plaintiff’s and Class Members’ confidential Private Information.

       59.     Accordingly, Plaintiff’s and Class Members’ lives were severely disrupted. What’s

more, they have been harmed as a result of the Data Breach and now face an increased risk of

future harm that includes, but is not limited to, fraud and identity theft. Plaintiff and Class Members

also lost the benefit of the bargain they made with Defendant.



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    G. Defendant Should Have Known that Cybercriminals Target PII and PHI to Carry
       Out Fraud and Identity Theft

        60.      The FTC hosted a workshop to discuss "informational injuries," which are injuries

that consumers like Plaintiff and Class Members suffer from privacy and security incidents such

as data breaches or unauthorized disclosure of data.'! Exposure of highly sensitive personal

information that a consumer wishes to keep private may cause harm to the consumer, such as the

ability to obtain or keep employment. Consumers' loss of trust in e-commerce also deprives them

of the benefits provided by the full range of goods and services available which can have negative

impacts on daily life.

        61.      Any victim of a data breach is exposed to serious ramifications regardless of the

nature of the data that was breached. Indeed, the reason why criminals steal information is to

monetize it. They do this by selling the spoils of their cyberattacks on the black market to identity

thieves who desire to extort and harass victims or to take over victims' identities in order to engage

in illegal financial transactions under the victims' names.

        62.      Because a person's identity is akin to a puzzle, the more accurate pieces of data an

identity or data thief obtains about a person, the easier it is for the thief to take on the victim's

identity or to otherwise harass or track the victim. For example, armed with just a name and date

of birth, a data thief can utilize a hacking technique referred to as "social engineering" to obtain

even more information about a victim's identity, such as a person's login credentials or Social

Security number. Social engineering is a form of hacking whereby a data thief uses previously




'
 FTC Information Injury Workshop, BE and BCP Staff Perspective, Federal Trade Commission, (October 2018),
available at https://www.ftc.gov/system/files/documents/reports/ftc-informational-injury-workshop-be-bep-staff-
perspective/informational_injury_workshop_staff_report_-_oct_2018_0.pdf (last visited on August 9, 2023).


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acquired information to manipulate individuals into disclosing additional confidential or personal

information through means such as spam phone calls and text messages or phishing emails.

         63.     In fact, as technology advances, computer programs may scan the Internet with a

wider scope to create a mosaic of information that may be used to link compromised information

to an individual in ways that were not previously possible. This is known as the "mosaic effect."

Names and dates of birth, combined with contact information like telephone numbers and email

addresses, are very valuable to hackers and identity thieves as it allows them to access users' other

accounts.

         64.     Thus, even if certain information was not purportedly involved in the Data Breach,

the unauthorized parties could use Plaintiff's and Class Members' Private Information to access


accounts, including, but not limited to, email accounts and financial accounts, to engage in a wide

variety of fraudulent activity against Plaintiff and Class Members.

         65.     For these reasons, the FTC recommends that identity theft victims take several

time-consuming steps to protect their personal and financial information after a data breach,

including contacting one of the credit bureaus to place a fraud alert on their account (and an

extended fraud alert that lasts for 7 years if someone steals the victim's identity), reviewing their

credit reports, contacting companies to remove fraudulent charges from their accounts, placing a

freeze on their credit, and correcting their credit reports.* However, these steps do not guarantee

protection from identity theft but can only mitigate identity theft's long-lasting negative impacts.

         66.      Identity thieves can also use stolen personal information such as Social Security

numbers and PHI for a variety of crimes, including credit card fraud, phone or utilities fraud, bank

fraud, to obtain a driver's license or official identification card in the victim's name but with the


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 See IdentityTheft.gov, Federal Trade Commission, available at https://www.identitytheft.gov/Steps (last visited
August 9, 2023).

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thief's picture, to obtain government benefits, or to file a fraudulent tax return using the victim's

information. In addition, identity thieves may obtain a job using the victim's Social Security

number, rent a house in the victim's name, receive medical services in the victim's name, and even

give the victim's personal information to police during an arrest resulting in an arrest warrant being

issued in the victim's name.

          67.     In fact, a study by the Identity Theft Resource Center' shows the multitude of harms

caused by fraudulent use of PII:


                             Americans' expenses/disruptions as a result of
                                 criminal activity in their name (2016)

                         |   had to request government assistance                                 285%
                                                 |   had to borrow money                                            60.7%
                     Had to use my savings to pay for expenses                                     328%
                                     Couldn't quolify for a home loan                              = <x
                                 |   lost my home/place of residence                              31%
                                         |   couldn't care for my family                            34.4%
                     Had to rely on family/friends for assistance
                             Lost out on an employment opportunity
                                         Lest time away from school                     9.7%
                                        Missed time away from work                                                55.7%
                                        Was generally inconvenienced
                                                                   Other                    23%
                                                           None of these        33%
                                                                           0%    W%   20%    30%    40%     SO%   60%     70%   80%
                        Theft




          68.     PHI is also especially valuable to identity thieves. As the FTC recognizes, identity

thieves can use PHI to commit an array of crimes, including identity theft and medical and financial

fraud.*




  Steele, Jason, Credit Card and ID Theft Statistics, CreditCards.com (October 23, 2017), available at https: //www.
3


creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-1276/ (last visited on August 9, 2023).

4
 Federal Trade Commission, Warning Signs of Identity Theft, available at: https: //consumer. ftc.gov/articles/what-
know-about-identity-theft (last visited on August 9, 2023).


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         69.      Indeed, a robust cyber black market exists in which criminals openly post stolen

PHI on multiple underground Internet websites, commonly referred to as the dark web.

         70.      While credit card information and associated PII can sell for as little as $1-$2 on

the black market, protected health information can sell for as much as $363 according to the

Infosec Institute.>

         71.      PHI is particularly valuable because criminals can use it to target victims with

frauds and scams that take advantage of the victim's medical conditions or victim settlements. It

can be used to create fake insurance claims, allowing for the purchase and resale of medical

equipment, or gain access to prescriptions for illegal use or resale.

         72.      Medical identity theft can result in inaccuracies in medical records and costly false

claims. It can also have life-threatening consequences. If a victim's health information is mixed

with other records, it can lead to misdiagnosis or mistreatment. "Medical identity theft is               raa
                                                                                                                growing

and dangerous crime that leaves its victims with little to no recourse for recovery," reported Pam

Dixon, executive director of World Privacy Forum. "Victims often experience financial

repercussions and worse yet, they frequently discover erroneous information has been added to

their personal medical files due to the thief's activities."

         73.      Theramifications of Defendant's failure to keep client's Private Information secure

are long lasting and severe. Once it is stolen, fraudulent use of such and damage to victims may

continue for years, if not a lifetime.




5
 Center for Internet Security, Data Breaches: In the Healthcare Sector, available at.
https://www.cisecurity.org/insights/blog/data-breaches-in-the-healthcare-sector (last visited on August 9, 2023).
6
 Michael Ollove, "The Rise of Medical Identity Theft in Healthcare," Kaiser Health News, Feb. 7, 2014, available
at: https://kffhealthnews.org/news/rise-of-indentity-theft/ (last visited on August 9, 2023).


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         74.      Here, not only was sensitive medical information compromised, but Social Security

numbers were compromised too. The value of both PII and PHI is axiomatic. The value of "big

data" in corporate America is astronomical. The fact that identity thieves attempt to steal identities

notwithstanding possible heavy prison sentences illustrates beyond a doubt that the Private

Information compromised here has considerable market value.

         75.      It must also be noted that there may be a substantial time lag between when harm

occurs and when it is discovered, and also between when PII and/or PHI is stolen and when it is

misused. According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches:
                            '

               [L]aw enforcement officials told us that in some cases, stolen data may
               be held for up to a year or more before being used to commit identity
               theft. Further, once stolen data have been sold or posted on the Web,
               fraudulent use of that information may continue for years. As a result,
               studies that attempt to measure the harm resulting from data breaches
               cannot necessarily rule out all future harm.


         76.      PI and PHI are such valuable commodities to identity thieves that once the
information has been compromised, criminals often trade the information on the dark web for

years.

         77.      As a result, Plaintiff and Class Members are at an increased risk of fraud and

identity theft, including medical identity theft, for many years into the future. Thus, Plaintiff and

Class Members have no choice but to vigilantly monitor their accounts for many years to come.

    Hi. Plaintiff's and Class Members' Damages


         PlaintiffKhoune's Experience



7
 Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown, GAO (June 2007), available at https://www.gao.gov/assets/270/262904.html1 (last visited August 9,
2023).

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       78.     Defendant came into possession of Plaintiff Khoune’s Private Information through

the employment provided to Plaintiff Khoune.

       79.     When Plaintiff received Defendant’s employment, Defendant required that Plaintiff

provide it with his PII and PHI.

       80.     On or about February 20, 2025, Plaintiff received a letter entitled “Notice of Data

Breach” which told him that his PII and PHI had been accessed during the Data Breach. The notice

letter informed him that the stolen information included his names, contact information, phone

number, postal address, date of birth, driver’s license, passports, Social Security number, bank

account and payment card numbers, medical and health related information, health insurance

information, usernames and passwords, and work-related information.

       81.     Plaintiff Khoune suffered actual injury in the form of time spent dealing with the

Data Breach and the increased risk of fraud resulting from the Data Breach and/or monitoring his

accounts for fraud.

       82.     Plaintiff would not have provided his PII and PHI to Defendant had he been aware

of Defendant’s inadequate data security practices to safeguard its clients’ patients’ personal and

health information from theft, and that those systems were subject to a data breach.

       83.     Plaintiff Khoune suffered actual injury in the form of having his PII and PHI

compromised and/or stolen as a result of the Data Breach.

       84.     Plaintiff Khoune suffered actual injury in the form of damages to and diminution

in the value of his personal and health information – a form of intangible property that Plaintiff

Khoune entrusted to Defendant for the purpose of receiving employment from Defendant and

which was compromised as a result of, the Data Breach.




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       85.     Plaintiff Khoune suffered imminent and impending injury arising from the

substantially increased risk of future fraud, identity theft, and misuse posed by his Private

Information being placed in the hands of criminals.

       86.     Plaintiff Khoune has a continuing interest in ensuring that his PII and PHI, which

remain in the possession of Defendant, are protected and safeguarded from future breaches.

       87.     As a result of the Data Breach, Plaintiff Khoune made reasonable efforts to mitigate

the impact of the Data Breach, including but not limited to researching the legitimacy of the Data

Breach, reviewing financial and credit accounts for any indications of actual or attempted identity

theft or fraud, and researching the credit monitoring offered by Defendant.

       88.     Plaintiff Khoune has spent countless hours dealing with the Data Breach thus far,

valuable time he otherwise would have spent on other activities.

       89.     As a result of the Data Breach, Plaintiff Khoune has suffered anxiety as a result of

the release of his PII and PHI, which he believed would be protected from unauthorized access

and disclosure. These feelings include anxiety about unauthorized parties viewing, selling, and/or

using his PII and PHI for purposes of committing cyber and other crimes against his including, but

not limited to, fraud and identity theft. Plaintiff Khoune is very concerned about this increased,

substantial, and continuing risk, as well as the consequences that identity theft and fraud resulting

from the Data Breach would have on his life.

       90.     Plaintiff Khoune also suffered actual injury from having his Private Information

compromised as a result of the Data Breach in the form of (a) damage to and diminution in the

value of his PII and PHI, a form of property that Defendant obtained from Plaintiff Khoune; (b)

violation of his privacy rights; and (c) present, imminent, and impending injury arising from the

increased risk of identity theft, and fraud he now faces.



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       91.     As a result of the Data Breach, Plaintiff Khoune anticipates spending considerable

time and money on an ongoing basis to try to mitigate and address the many harms caused by the

Data Breach.

       92.     In sum, Plaintiff and Class Members have been damaged by the compromise of

their Private Information in the Data Breach.

       93.     Plaintiff and Class Members entrusted their Private Information to Defendant in

order to receive Defendant’s services and/or employment.

       94.     Their Private Information was subsequently compromised as a direct and proximate

result of the Data Breach, which Data Breach resulted from Defendant’s inadequate data security

practices.

       95.     As a direct and proximate result of Defendant’s actions and omissions, Plaintiff and

Class Members have been harmed and are at an imminent, immediate, and continuing increased

risk of harm, including but not limited to, having medical services billed in their names, loans

opened in their names, tax returns filed in their names, utility bills opened in their names, credit

card accounts opened in their names, and other forms of identity theft.

       96.     Further, and as set forth above, as a direct and proximate result of Defendant’s

conduct, Plaintiff and Class Members have also been forced to take the time and effort to mitigate

the actual and potential impact of the data breach on their everyday lives, including placing

“freezes” and “alerts” with credit reporting agencies, contacting their financial institutions, closing

or modifying financial accounts, and closely reviewing and monitoring bank accounts and credit

reports for unauthorized activity for years to come, if not a lifetime.




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         97.      Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs


directly or indirectly related to the Data Breach.

         98.      Plaintiff and Class Members also face a substantial risk of being targeted in future

phishing, data intrusion, and other illegal schemes through the misuse of their Private Information,

since potential fraudsters will likely use such Private Information to carry out such targeted

schemes against Plaintiff and Class Members.

         99.      The Private Information maintained by and stolen from Defendant's systems,

combined with publicly available information, allows nefarious actors to assemble a detailed

mosaic of Plaintiff and Class Members, which can also be used to carry out targeted fraudulent

schemes against Plaintiff and Class Members.

    100.          Additionally, Plaintiff and Class Members also suffered a loss of value of their PII

and PHI when it was acquired by cyber thieves in the Data Breach. Numerous courts have


recognized the propriety of loss of value damages in related cases. An active and robust legitimate

marketplace for Private Information also exists. In 2019, the data brokering industry was worth

roughly $200 billion.® In fact, consumers who agree to provide their web browsing history to the

Nielsen Corporation can in turn receive up to $50 a year."

         101.     Asaresult of the Data Breach, Plaintiff's and Class Members' Private Information,

which has an inherent market value in both legitimate and illegal markets, has been harmed and

diminished due to its acquisition by cybercriminals. This transfer of valuable information



8
 See https://thequantumrecord.com/blog/data-brokers-profit-from-our-
data/#:~: text=The%20business%20of%20data%20brokering,annual%20revenue%20of%20%24200%20billion. (last
visited on August 9, 2023).

°
 Frequently Asked Questions, Nielsen Computer & Mobile Panel,
https://computermobilepanel.nielsen.com/ui/US/en/fagen.html (last visited Jan. 16, 2023).

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happened with no consideration paid to Plaintiff or Class Members for their property, resulting in

an economic loss. Moreover, the Private Information is apparently readily available to others, and

the rarity of the Private Information has been destroyed because it is no longer only held by

Plaintiff and the Class Members, and because that data no longer necessarily correlates only with

activities undertaken by Plaintiff and the Class Members, thereby causing additional loss of value.

        102.   Finally, Plaintiff and Class Members have suffered or will suffer actual injury as a

direct and proximate result of the Data Breach in the form of out-of-pocket expenses and the value

of their time reasonably incurred to remedy or mitigate the effects of the Data Breach.

        103.   Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to still be in the possession of Defendant, is protected from

future breaches by the implementation of more adequate data security measures and safeguards,

including but not limited to, ensuring that the storage of data or documents containing highly

sensitive personal and health information of its patients is not accessible online, that access to such

data is password-protected, and that such data is properly encrypted.

        104.   As adirect and proximate result of Defendant's actions and inactions, Plaintiff and

Class Members have suffered a loss of privacy and have suffered cognizable harm, including an

imminent and substantial future risk of harm, in the forms set forth above.

                             II.     CLASS ACTION ALLEGATIONS

        105.   Plaintiff brings this action individually and on behalf of all other persons similarly

situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).

        106.   Specifically, Plaintiff proposes the following Class (referred to herein as the

"Class"), subject to amendment as appropriate:

               All individuals in the United States who had Private Information
               accessed and/or acquired as a result of the Data Breach, including


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                all        who   were   sent   a   notice   of   the   Data      Breach.

        107.    Excluded from the Class are Defendant and its parents or subsidiaries, any entities

in which it has a controlling interest, as well as its officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any judge to whom

this case is assigned as well as their judicial staff and immediate family members.

        108.    Plaintiff reserves the right to modify or amend the definitions of the proposed Class

before the Court determines whether certification is appropriate.

        109.    The proposed Class meets the criteria for certification under Fed. R. Civ. P. 23(a),

(b)(2), and (b)(3).

        110.    Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Though the exact number and identities of Class Members are unknown at this time,

based on information and belief, the Class consists of over 1.7 million of EM/MC's clients'

patients' whose data was compromised in the Data Breach. The identities of Class Members are

ascertainable through Defendant's records, Class Members' records, publication notice, self-

identification, and other means.

        111.    Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

                      a.    Whether Defendant engaged in the conduct alleged herein;

                      b.    Whether Defendant's conduct violated the FTCA, HIPAA, and/or North

                            Carolina Unfair and Deceptive Trade Practices Act;

                      c.    When Defendant learned of the Data Breach;

                      d.    Whether Defendant's response to the Data Breach was adequate;



                                                    24

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          e. Whether Defendant unlawfully lost or disclosed Plaintiff’s and Class

             Members’ Private Information;

          f. Whether Defendant failed to implement and maintain reasonable security

             procedures and practices appropriate to the nature and scope of the Private

             Information compromised in the Data Breach;

          g. Whether Defendant’s data security systems prior to and during the Data

             Breach complied with applicable data security laws and regulations;

          h. Whether Defendant’s data security systems prior to and during the Data

             Breach were consistent with industry standards;

          i. Whether Defendant’s owed a duty to Class Members to safeguard their

             Private Information;

          j. Whether Defendant’s breached its duty to Class Members to safeguard their

             Private Information;

          k. Whether hackers obtained Class Members’ Private Information via the Data

             Breach;

          l. Whether Defendant had a legal duty to provide timely and accurate notice

             of the Data Breach to Plaintiff and the Class Members;

          m. Whether Defendant breached its duty to provide timely and accurate notice

             of the Data Breach to Plaintiff and Class Members;

          n. Whether Defendant knew or should have known that its data security

             systems and monitoring processes were deficient;

          o. What damages Plaintiff and Class Members suffered as a result of

             Defendant’s misconduct;



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                    p.   Whether Defendant's conduct was negligent;

                    q.   Whether Defendant's conduct was per se negligent;

                    r.   Whether Defendant was unjustly enriched;

                    s.   Whether Plaintiff and Class Members are entitled to actual and/or statutory

                         damages;

                    t.   Whether Plaintiff and Class Members are entitled to additional credit or

                         identity monitoring and monetary relief; and

                    u.   Whether Plaintiff and Class Members are entitled to equitable relief,

                         including   injunctive   relief,   restitution,    disgorgement,   and/or   the

                         establishment of a constructive trust.

        112.    Typicality. Plaintiff's claims are typical of those of other Class Members because

Plaintiff's Private Information, like that of every other Class Member, was compromised in the

Data Breach. Plaintiff's claims are typical of those of the other Class Members because, inter alia,

all Class Members were injured through the common misconduct of Defendant. Plaintiff is

advancing the same claims and legal theories on behalf of herself and all other Class Members,

and there are no defenses that are unique to Plaintiff. The claims of Plaintiff and those of Class

Members arise from the same operative facts and are based on the same legal theories.

        113.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff's counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        114.    Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members in that all of Plaintiffs and Class Members' data was stored on the

same computer systems and unlawfully accessed and exfiltrated in the same way. The common



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issues arising from Defendant's conduct affecting Class Members set out above predominate over

any individualized issues. Adjudication of these common issues in a single action has important

and desirable advantages ofjudicial economy.

        115.    Superiority. A Class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, conducting this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties' resources, and protects the rights of each

Class Member.

        116.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). Defendant has

acted and/or refused to act on grounds generally applicable to the Class such that final injunctive

relief and/or corresponding declaratory relief is appropriate as to the Class as a whole.

        117.    Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to the names and addresses and/or email addresses of Class Members affected by the Data

Breach. Class Members have already been preliminarily identified and sent notice of the Data

Breach by Defendant.


                                     CLAIMS FOR RELIEF




                                                 27

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                                                COUNT I
                                     NEGLIGENCE
                        (ON BEHALF OF PLAINTIFF AND THE CLASS)

          118.   Plaintiff restates and realleges all of the allegations stated above as if fully set forth

herein.

          119.   Defendant knowingly collected, came into possession of, and maintained Plaintiff's

and Class Members' Private Information, and had a duty to exercise reasonable care in


safeguarding, securing, and protecting such Information from being disclosed, compromised, lost,

stolen, and misused by unauthorized parties.

          120.   Defendant's duty also included a responsibility to implement processes by which it

could detect and analyze a breach of its security systems quickly and to give prompt notice to those

affected in the case of a cyberattack.

          121.   Defendant knew or should have known of the risks inherent in collecting the Private

Information of Plaintiff and Class Members and the importance of adequate security. Defendant

was on notice because, on information and belief, it knew or should have known that it would be

an attractive target for cyberattacks.

          122.   Defendant owed a duty of care to Plaintiff and Class Members whose Private

Information was entrusted to it. Defendant's duties included, but were not limited to, the following:

                 a.   To exercise reasonable care in obtaining, retaining, securing, safeguarding,

                      deleting, and protecting Private Information in its possession;

                 b.   To protect patients' Private Information using reasonable and adequate security

                      procedures and systems compliant with industry standards;

                 c.   To have procedures in place to prevent the loss or unauthorized dissemination

                      of Private Information in its possession;


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               d. To employ reasonable security measures and otherwise protect the Private

                   Information of Plaintiff and Class Members pursuant to HIPAA, the FTCA and

                   the North Carolina Unfair and Deceptive Trade Practices Act;

               e. To implement processes to quickly detect a data breach and to timely act on

                   warnings about data breaches; and

               f. To promptly notify Plaintiff and Class Members of the Data Breach, and to

                   precisely disclose the type(s) of information compromised.

       123.    Defendant’s duty to employ reasonable data security measures arose, in part, under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       124.    Defendant’s duty also arose because Defendant was bound by industry standards to

protect its clients’ confidential Private Information.

       125.    Plaintiff and Class Members were foreseeable victims of any inadequate security

practices on the part of Defendant, and Defendant owed them a duty of care to not subject them to

an unreasonable risk of harm.

       126.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class Members by failing to exercise reasonable care in protecting and safeguarding

Plaintiff’s and Class Members’ Private Information within Defendant’s possession.

       127.    Defendant, by its actions and/or omissions, breached its duty of care by failing to

provide, or acting with reckless disregard for, fair, reasonable, or adequate computer systems and

data security practices to safeguard the Private Information of Plaintiff and Class Members.




                                                 29

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          128.   Defendant, by its actions and/or omissions, breached its duty of care by failing to

promptly identify the Data Breach and then failing to provide prompt notice of the Data Breach to

the persons whose Private Information was compromised.

          129.   Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

          a. Failing to adopt, implement, and maintain adequate security measures to safeguard

             Class Members’ Private Information;

          b. Failing to adequately monitor the security of its networks and systems;

          c. Failing to periodically ensure that its email system maintained reasonable data security

             safeguards;

          d. Allowing unauthorized access to Class Members’ Private Information;

          e. Failing to comply with the FTCA; and

          f. Failing to detect, in a timely manner, the vulnerability that led to the Data Breach of its

             systems.

          130.   Defendant had a special relationship with Plaintiff and Class Members. Plaintiff’s

and Class Members’ willingness to entrust Defendant with their Private Information was

predicated on the understanding that Defendant would take adequate security precautions.

Moreover, only Defendant had the ability to protect its systems (and the Private Information that

it stored on them) from attack.

          131.   Defendant’s breach of duties owed to Plaintiff and Class Members caused

Plaintiff’s and Class Members’ Private Information to be compromised and exfiltrated, as alleged

herein.



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        132.    Defendant's breaches of duty also caused a substantial, imminent risk to Plaintiff

and Class Members of identity theft, loss of control over their Private Information, and/or loss of

time and money to monitor their accounts for fraud.

        133.    Asa a result of Defendant's negligence in breach of its duties owed to Plaintiff and


Class Members, Plaintiff and Class Members are in danger of imminent harm in that their Private

Information, which is still in the possession of third parties, will be used for fraudulent purposes.

        134.    Defendant also had independent duties under state laws that required it to

reasonably safeguard Plaintiff's and Class Members' Private Information and promptly notify

them about the Data Breach.

        135.    As a direct and proximate result of Defendant's negligent conduct, Plaintiff and

Class Members have suffered damages as alleged herein and are at imminent risk of further harm.

        136.    The injury and harm that Plaintiff and Class Members suffered was reasonably

foreseeable.

        137.    Plaintiff and Class Members have suffered injury and are entitled to damages in an

amount to be proven at trial.

        138.    In addition to monetary relief, Plaintiff and Class Members are also entitled to


injunctive relief requiring Defendant to, inter alia, strengthen its data security systems and

monitoring procedures, conduct periodic audits of those systems, and provide lifetime credit

monitoring and identity theft insurance to Plaintiff and Class Members.

                                             COUNT II
                               NEGLIGENCE PER SE
                      (ON BEHALF OF PLAINTIFF AND THE CLASS)

        139.    Plaintiff restates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.




                                                  31

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       140.    Pursuant to Section 5 of the FTCA, Defendant had a duty to provide fair and

adequate computer systems and data security to safeguard the Private Information of Plaintiff and

Class Members.

       141.    Pursuant to HIPAA, 42 U.S.C. § 1302(d), et seq., Defendant had a duty to

implement reasonable safeguards to protect Plaintiff’s and Class Members’ Private Information.

       142.    Specifically, pursuant to HIPAA, Defendant had a duty to render the electronic PHI

it maintained unusable, unreadable, or indecipherable to unauthorized individuals by “the use of

an algorithmic process to transform data into a form in which there is a low probability of assigning

meaning without the use of a confidential process or key.” See definition of “encryption” at 45

C.F.R. § 164.304.

       143.    Defendant breached its duties to Plaintiff and Class Members under the FTCA and

HIPAA by failing to provide fair, reasonable, or adequate computer systems and data security

practices to safeguard Plaintiff’s and Class Members’ Private Information.

       144.    Specifically, Defendant breached its duties by failing to employ industry-standard

cybersecurity measures in order to comply with the FTCA, including but not limited to proper

segregation, access controls, password protection, encryption, intrusion detection, secure

destruction of unnecessary data, and penetration testing.

       145.    The FTCA prohibits “unfair . . . practices in or affecting commerce,” including, as

interpreted and enforced by the FTC, the unfair act or practice of failing to use reasonable measures

to protect PII and PHI (such as the Private Information compromised in the Data Breach). The

FTC rulings and publications described above, together with the industry-standard cybersecurity

measures set forth herein, form part of the basis of Defendant’s duty in this regard.




                                                 32

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          146.   Defendant also violated the FTCA and HIPAA by failing to use reasonable

measures to protect the Private Information of Plaintiff and the Class and by not complying with

applicable industry standards, as described herein.

          147.   It was reasonably foreseeable, particularly given the growing number of data

breaches of Private Information, that the failure to reasonably protect and secure Plaintiff’s and

Class Members’ Private Information in compliance with applicable laws would result in an

unauthorized third-party gaining access to Defendant’s networks, databases, and computers that

stored Plaintiff’s and Class Members’ unencrypted Private Information.

          148.   Plaintiff and Class Members are within the class of persons that the FTCA and

HIPAA are intended to protect and Defendant’s failure to comply with both constitutes negligence

per se.

          149.   Plaintiff’s and Class Members’ Private Information constitutes personal property

that was stolen due to Defendant’s negligence, resulting in harm, injury, and damages to Plaintiff

and Class Members.

          150.   As a direct and proximate result of Defendant’s negligence per se, Plaintiff and the

Class have suffered, and continue to suffer, injuries and damages arising from the unauthorized

access of their Private Information, including but not limited to damages from the actual misuse

of their Private Information and/or the lost time and effort to mitigate the actual and potential

impact of the Data Breach on their lives.

          151.   As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

Class Members have suffered injury and are entitled to compensatory and consequential damages

in an amount to be proven at trial.




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        152.    In addition to monetary relief, Plaintiff and Class Members are also entitled to


injunctive relief requiring Defendant to, inter alia, strengthen its data security systems and

monitoring procedures, conduct periodic audits of those systems, and provide lifetime credit

monitoring and identity theft insurance to Plaintiff and Class Members.

                                             COUNT III
                    BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
                       (ON BEHALF OF PLAINTIFF AND THE CLASS)

        153.    Plaintiffrestates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.

        154.    Upon information and belief, Defendant entered into virtually identical contracts

with its clients to provide employment and other services to them, which services included data

security practices, procedures, and protocols sufficient to safeguard the Private Information that

was to be entrusted to it.

        155.    Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their Private Information that Defendant agreed to receive and protect through its services.

Thus, the benefit of collection and protection of the Private Information belonging to Plaintiff and

the Class was the direct and primary objective of the contracting parties and Plaintiff and Class

Members were direct and express beneficiaries of such contracts.

        156.    Defendant knew that if it were to breach these contracts with its clients, Plaintiff

and the Class would be harmed.

        157.    Defendant breached its contracts with its clients and, as a result, Plaintiff and Class

Members were affected by the Data Breach when Defendant failed to use reasonable data security

monitoring measures that could have prevented the Data Breach.




                                                  34

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        158.    As foreseen, Plaintiff and the Class were harmed by Defendant's failure to use

reasonable data security measures to securely store and protect the files in its care, including but

not limited to, the continuous and substantial risk of harm through the loss of their Private

Information.

        159.    Accordingly, Plaintiff and the Class are entitled to damages in an amount to be

determined at trial, along with costs and attorneys' fees incurred in this action.




                                COUNT IV
    VIOLATION OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE TRADE
                            PRACTICES ACT
                     N.C. GEN. STAT. § 75-1.1., EET SEQ
               (ON BEHALF OF PLAINTIFF AND THE CLASS)

        160.    Plaintiff restates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.

        161.    It is appropriate to apply North Carolina law to the nationwide class claims here

because North Carolina's interest in this litigation exceeds that of any other state.Defendant is a

North Carolina entity with headquarters in this state and is subject to the laws and regulations of

the State of North Carolina, including but not limited to the North Carolina Unfair and Deceptive

Trade Practices Act, N.C. Gen. Stat. § 75.1.1 ("UDTPA"). That act "declare[s] unlawful" all

"Tulnfair methods of competition in or affecting commerce, and unfair of deceptive acts or

practices in or affecting commerce." Id. § 75-1.1(a).


        162.    For purposes of North Carolina's UDTPA, the term "commerce" includes all

business activities, however denominated, but does not include professional services rendered by

a member of a learned profession." Id. § 75-1.1(b).




                                                  35

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       163.    Defendant violated the North Carolina UDTPA by engaging in unlawful, unfair, or

deceptive business acts and practices in or affecting commerce, as well as unfair, deceptive, untrue,

or misleading advertising that constitute acts of “unfair competition” prohibited in the statute.
       164. Upon information and belief, the policies, practices, acts and omissions giving rise

to this action emanated from Defendant’s headquarters and facilities in North Carolina

       165.     Reasonable individuals would be misled by Defendant’s misrepresentations

and/or omissions concerning the security of their Private Information because they assume

companies, like Defendant, that collect PII and PHI from patients will properly safeguard such in

a manner consistent with industry standards and practices.

       166.    Defendant failed to inform Plaintiff or Class Members of its inadequate data

security practices and procedures that led to the Data Breach, thereby misleading Plaintiff and

Class Members. Such misrepresentations and/or omissions were material because Plaintiff and

Class Members entrusted Defendant with their Private Information.

       167.    Had Plaintiff and Class Members known of Defendant’s failure to maintain

adequate security measures to protect their Private Information, they would not have entrusted

their Private Information to Defendant.

       168.    Plaintiff and Class Members were injured because: a) they would not have paid for

services from Defendant had they known the true nature and character of Defendant’s data security

practices; b) Plaintiff and Class Members would not have entrusted their Private Information to

Defendant in the absence of promises that Defendant would keep their information reasonably

secure, and c) Plaintiff and Class Members would not have entrusted their Private Information to

Defendant in the absence of the promise to monitor its computer systems and networks to ensure

that it adopted reasonable data security measures.




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       169.    Defendant engaged in unlawful acts and practices with respect to their services by

establishing inadequate security practices and procedures described herein; by soliciting and

collecting Plaintiff’s and Class Members’ sensitive information with knowledge that such

information would not be adequately protected; and by gathering Plaintiff’s and Class Members’

sensitive information in an unsecure electronic environment in violation of North Carolina’s data

breach statute, the Identity Theft Protection Act, N.C. Gen. Stat. § 75-60, et seq., which requires

Defendant to undertake reasonable methods of safeguarding the sensitive information of the

Plaintiff and other Class Members.

       170.    In addition, Defendant engaged in unlawful acts and practices when they failed to

discover and then disclose the data security breach to Plaintiff and the Class Members in a timely

and accurate manner, contrary to the duties imposed by N.C. Gen. Stat. § 75-65.

       171.    Defendant further violated UDTPA by violating North Carolina’s Identity Theft

Protection Act (ITPA), N.C. Gen. Stat. § 75-60, et. seq. (ITPA) by:

           a. Failing to prevent the PII of Plaintiff and Class Members from falling into

               unauthorized hands;

           b. Failing to make reasonable efforts to safeguard and protect the PII/PHI, particularly

               Social Security numbers, of Plaintiff and Class Members;

           c. Failing to provide adequate notice of the security breach to affected

               patient/consumers upon discovery that their system had been compromised and PII

               had been disclosed; and

          d. In other ways to be discovered and proven at trial.
       172. As a direct and proximate result of Defendant’s unlawful acts and practices,

Plaintiff and Class Members have been injured, suffering ascertainable losses and lost money or

property, including but not limited to the loss of their legally protected interests in the

confidentiality and privacy of their sensitive information.
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        173.    Defendant knew or should have known that their data security practices were

inadequate to safeguard Plaintiff and the Class Members' sensitive information, that the risk of a

data security breach was significant, and that their systems were, in fact, breached.

        174.    Defendant's actions in engaging in the above-described unlawful practices were

negligent, knowing and willful, and/or wanton and reckless with respect to the rights of Plaintiff

and the Class Members.

            175.        As a result, on behalf of herself and other members of the Class, Plaintiff

seek to enjoin the unlawful acts and practices described herein, and to recover actual damages, and

reasonable attorneys' fees.


                                     COUNT V
                               UNJUST ENRICHMENT
                      (ON BEHALF OF PLAINTIFF AND THE CLASS)

        176.    Plaintiff restates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.

        177.    This Count is pleaded in the alternative to Count III above.

        178.    Plaintiff and Class Members conferred a benefit on Defendant by turning over their

valuable Private Information to Defendant in exchange for cybersecurity measures sufficient to

protect their Private Information from unauthorized access and disclosure. Plaintiff and Class

Members did not receive such protection.

        179.    Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including from payments made to it by Plaintiffs and Class Members'

healthcare providers (i.e., Defendant's clients).

        180.    As such, a portion of these payments made to Defendant is to be used to provide a

reasonable and adequate level of data security that is in compliance with applicable state and


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federal regulations and industry standards, and the amount of the portion of each payment made

that is allocated to data security is known to Defendant.

        181.    Defendant has retained the benefits of its unlawful conduct, including the amounts

of payment received from Plaintiff’s and Class Members’ healthcare providers, which payment

should have been used for adequate cybersecurity practices that it failed to provide.

        182.    Defendant knew that Plaintiff and Class Members conferred a benefit upon it,

which Defendant accepted. Defendant profited from these transactions and used the Private

Information of Plaintiff and Class Members for business purposes, while failing to use the

payments it received for adequate data security measures that would have secured Plaintiff’s and

Class Members’ Private Information and prevented the Data Breach.

        183.    If Plaintiff and Class Members had known that Defendant had not adequately

secured their Private Information, they would not have agreed to the provision of such Private

Information to Defendant.

        184.    Due to Defendant’s conduct alleged herein, it would be unjust and inequitable under

the circumstances for Defendant to be permitted to retain the benefit of its wrongful conduct.

        185.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered, and/or are at a continued, imminent risk of suffering, injury that includes

but is not limited to the following: (i) actual identity theft; (ii) the loss of the opportunity to control

how their Private Information is used; (iii) the compromise, publication, and/or theft of their

Private Information; (iv) out-of-pocket expenses associated with the prevention, detection, and

recovery from identity theft, and/or unauthorized use of their Private Information; (v) lost

opportunity costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual and future consequences of the Data Breach, including but not



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limited to efforts spent researching how to prevent, detect, contest, and recover from identity theft;

(vi) the continued risk to their Private Information, which remains in Defendant's possession and

is subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate

and adequate measures to protect Private Information in its continued possession; and (vii) future

costs in terms of time, effort, and money that will be expended to prevent, detect, contest, and

repair the impact of the Private Information compromised as a result of the Data Breach for the

remainder of the lives of Plaintiff and Class Members.

        186.    Plaintiff and Class Members are entitled to full refunds, restitution, and/or damages

from Defendant and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendant from its wrongful conduct. This can be accomplished by

establishing a constructive trust from which the Plaintiff and Class Members may seek restitution

or compensation.

        187.    Plaintiff and Class Members may not have an adequate remedy at law against

Defendant, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.

                                     COUNT VI
                            BREACH OF FIDUCIARY DUTY
                      (ON BEHALF OF PLAINTIFF AND THE CLASS)

        188.    Plaintiff restates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.

        189.    In light of the special relationship between Defendant and its clients', whereby

Defendant became a guardian of Plaintiff's and Class Members' Private Information (including

highly sensitive, confidential, personal, and other PHI) Defendant was a fiduciary, created by its

undertaking and guardianship of the Private Information, to act primarily for the benefit of its



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clients’ patients, including Plaintiff and Class Members. This benefit included (1) the safeguarding

of Plaintiff’s and Class Members’ Private Information; (2) timely notifying Plaintiff and Class

Members of the Data Breach; and (3) maintaining complete and accurate records of what and

where Defendant’s clients’ Private Information was and is stored.

       190.    Defendant had a fiduciary duty to act for the benefit of Plaintiff and the Class

Members upon matters within the scope of their customer/patient relationship, in particular to keep

secure the PII of their customers/patients.

       191.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to diligently investigate the Data Breach to determine the number of Class Members affected and

notify them within a reasonable and practicable period of time.

       192.    Defendant breached its fiduciary duties to Plaintiff and the Class by failing to

protect their Private Information.

       193.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to ensure the confidentiality and integrity of electronic PHI Defendant created, received,

maintained, and transmitted, in violation of 45 CFR 164.306(a)(1).

       194.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to implement technical policies and procedures for electronic information systems that maintain

electronic PHI to allow access only to those persons or software programs that have been granted

access rights, in violation of 45 CFR 164.312(a)(1).

       195.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to implement policies and procedures to prevent, detect, contain, and correct security violations,

in violation of 45 CFR 164.308(a)(1).




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       196.      Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to identify and respond to suspected or known security incidents; mitigate, to the extent

practicable, harmful effects of security incidents that are known to the covered entity, in violation

of 45 CFR 164.308(a)(6)(ii).

       197.      Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to protect against any reasonably-anticipated threats or hazards to the security or integrity of

electronic PHI, in violation of 45 CFR 164.306(a)(2).

       198.      Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to protect against any reasonably-anticipated uses or disclosures of electronic PHI that are not

permitted under the privacy rules regarding individually identifiable health information, in

violation of 45 CFR 164.306(a)(3).

       199.      Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to ensure compliance with the HIPAA security standard rules by its workforce, in violation of 45

CFR 164.306(a)(94).

       200.      Defendant breached its fiduciary duties to Plaintiff and Class Members by

impermissibly and improperly using and disclosing PHI that is and remains accessible to

unauthorized persons, in violation of 45 CFR 164.502, et seq.

       201.      Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to effectively train all members of their workforce (including independent contractors and/or

agents) on the policies and procedures with respect to protected health information as necessary

and appropriate for the members of their workforce to carry out their functions and to maintain

security of protected health information in violation of 45 C.F.R. § 164.530(b) and 45 C.F.R. §

164.308(a)(5).



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       202.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to design, implement, and enforce policies and procedures establishing physical and administrative

safeguards to reasonably safeguard protected health information, in compliance with 45 C.F.R. §

164.530(c).

       203.    Defendant breached their fiduciary duties to Plaintiff and Class Members by

otherwise failing to safeguard Plaintiff’s and Class Members’ PII/PHI.

       204.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will suffer injury, including but not limited to: (i)

actual identity theft; (ii) the loss of the opportunity how their PII/PHI is used; (iii) the compromise,

publication, and/or theft of their PII/PHI; (iv) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their

PII/PHI; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from tax fraud and identity theft; (vi) costs associated with placing freezes on credit reports; (vii)

the continued risk to their PII/PHI, which remain in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fail to undertake appropriate and adequate

measures to protect the PII/PHI of customers/patients and former customers/patients in their

continued possession; (viii) future costs in terms of time, effort, and money that will be expended

to prevent, detect, contest, and repair the impact of the PII/PHI compromised as a result of the

Data Breach for the remainder of the lives of Plaintiff and Class Members; and (ix) the diminished

value of Defendant’s goods and services they received.




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        205.    As a direct and proximate result of Defendant's breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer the harms and injuries

alleged herein, as well as anxiety, emotional distress, loss of privacy, and other economic and non-

economic losses.

                                    COUNT VII
                             DECLARATORY JUDGMENT
                      (ON BEHALF OF PLAINTIFF AND THE CLASS)

        206.    Plaintiff restates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.

        207.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seg., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and to grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts that are tortious

and violate the terms of the federal laws and regulations and state statute[s] described in this


Complaint.

        208.    Defendant owes a duty of care to Plaintiff and Class Members, which required it to

adequately secure Plaintiff's and Class Members' Private Information.

        209.    Defendant still possesses Private Information regarding Plaintiff and Class

Members.

        210.    Plaintiff alleges that Defendant's data security measures remain inadequate.

Furthermore, Plaintiff continues to suffer injury as a result of the compromise of his Private

Information and the risk remains that further compromises of his Private Information will occur in

the future.

        211.    Under its authority pursuant to the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:




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           a. Defendant owes a legal duty to secure its clients’ patients’ Private Information and

                   to timely notify them of a data breach under the common law, HIPAA, and the

                   FTCA;

           b. Defendant’s existing security measures do not comply with its explicit or implicit

                   contractual obligations and duties of care to provide reasonable security procedures

                   and practices that are appropriate to protect its clients’ patients’ Private

                   Information; and

           c. Defendant continues to breach this legal duty by failing to employ reasonable

                   measures to secure its clients’ patients’ Private Information.

       212.        This Court should also issue corresponding prospective injunctive relief requiring

Defendant to employ adequate security protocols consistent with legal and industry standards to

protect its clients’ Private Information, including the following:

           a. Order Defendant to provide lifetime credit monitoring and identity theft insurance

                   to Plaintiff and Class Members.

           b. Order that, to comply with Defendant’s explicit or implicit contractual obligations

                   and duties of care, Defendant must implement and maintain reasonable security

                   measures, including, but not limited to:

              i.           engaging third-party security auditors/penetration testers as well as internal

                           security personnel to conduct testing, including simulated attacks,

                           penetration tests, and audits on Defendant’s systems on a periodic basis, and

                           ordering Defendant to promptly correct any problems or issues detected by

                           such third-party security auditors;




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              ii.           engaging third-party security auditors and internal personnel to run

                            automated security monitoring;

              iii.          auditing, testing, and training its security personnel regarding any new or

                            modified procedures;

              iv.           segmenting its user applications by, among other things, creating firewalls

                            and access controls so that if one area is compromised, hackers cannot gain

                            access to other portions of Defendant’s systems;

               v.           conducting regular database scanning and security checks;

              vi.           routinely and continually conducting internal training and education to

                            inform internal security personnel how to identify and contain a breach

                            when it occurs and what to do in response to a breach; and

            vii.            meaningfully educating its clients’ and their patients about the threats they

                            face with regard to the security of their Private Information, as well as the

                            steps they should take to protect themselves.

       213.         If an injunction is not issued, Plaintiff will suffer irreparable injury and will lack an

adequate legal remedy to prevent another data breach at Defendant. The risk of another such breach

is real, immediate, and substantial. If another breach at Defendant occurs, Plaintiff will not have

an adequate remedy at law because many of the resulting injuries are not readily quantifiable.

       214.         The hardship to Plaintiff if an injunction does not issue exceeds the hardship to

Defendant if an injunction is issued. Plaintiff will likely be subjected to substantial, continued

identity theft and other related damages if an injunction is not issued. On the other hand, the cost

of Defendant’s compliance with an injunction requiring reasonable prospective data security




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measures is relatively minimal, and Defendant has a pre-existing legal obligation to employ such

measures.

       215.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing a subsequent data breach at

Defendant, thus preventing future injury to Plaintiff and other patients whose Private Information

would be further compromised.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the Class described above, seeks the

following relief:

            a. An order certifying this action as a Class action under Fed. R. Civ. P. 23, defining

               the Class as requested herein, appointing the undersigned as Class counsel, and

               finding that Plaintiff is a proper representative of the Class requested herein;

            b. Judgment in favor of Plaintiff and Class Members awarding them appropriate

               monetary relief, including actual damages, statutory damages, equitable relief,

               restitution, disgorgement, and statutory costs;

            c. An order providing injunctive and other equitable relief as necessary to protect the

               interests of the Class as requested herein;

            d. An order instructing Defendant to purchase or provide funds for lifetime credit

               monitoring and identity theft insurance to Plaintiff and Class Members;

            e. An order requiring Defendant to pay the costs involved in notifying Class Members

               about the judgment and administering the claims process;




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    f.   A judgment in favor of Plaintiff and Class Members awarding them prejudgment

         and post-judgment interest, reasonable attorneys' fees, costs, and expenses as

         allowable by law; and

    g.   An award of such other and further relief as this Court may deem just and proper.


                           DEMAND FOR JURY TRIAL
         Plaintiff demands a trial by jury on all triable issues.


 DATED: February 27, 2025                   Respectfully submitted,


                                            /s/ David M. Wilkerson

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